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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION



NATIONAL CHICKEN COUNCIL, et al.,                §
                                                 §
                   Plaintiffs,                   §
                                                 §
                     vs.                         §
                                                 §             No. 4:24-cv-03786
                                                 §
BROOKE ROLLINS, in her official capacity         §
as SECRETARY OF AGRICULTURE, et al.,             §             Judge Andrew Hanen
                                                 §
                   Defendants,                   §
                                                 §
and                                              §
                                                 §
RANCHERS CATTLEMEN ACTION                        §
LEGAL FUND UNITED STOCKGROWERS                   §
OF AMERICA, WESTERN                              §
ORGANIZATION OF RESOURCE                         §
COUNCILS, ALABAMA CONTRACT                       §
POULTRY GROWERS ASSOCIATION,                     §
AND LATINO FARMERS AND                           §
RANCHERS INTERNATIONAL,                          §
                                                 §
                   Proposed Defendant-           §
                   Intervenors.                  §
                                                 §



                                 [PROPOSED] ORDER

      Before this Court is a Motion to Intervene as Defendants by Ranchers Cattlemen Action

Legal Fund United Stockgrowers of America, Western Organization of Resource Councils,




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Alabama Contract Poultry Growers Association, and Latino Farmers and Ranchers International

(together, “Farmer and Rancher Organizations”).

        After considering the Motion and all supporting and opposing documents, and having heard

oral argument of counsel, and it appearing that good cause exists for granting of such Motion, IT

IS HEREBY ORDERED that leave is GRANTED to allow Farmer and Rancher Organizations to

intervene as a matter of right in this Action as defendants.

        The Proposed Answer provided with the Motion shall be considered filed as of the date of

this ruling.



    IT IS SO ORDERED on this _________ day of __________, 2025.




                                                      ____________________________
                                                      Judge Andrew S. Hanen




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